
Pratt, J.
The only question raised upon this appeal is, whether the court had jurisdiction to set aside a satisfaction and reinstate a judgment under an agreement by the parties to that effect.
The case of Hatch et al. v. The Central National Bank (78 N. Y., 487) is a direct authority upon this question.' That case holds that it is within the discretion of the court, after satisfaction of a judgment, to vacate it in the furtherance of justice. It is one of the inherent powers of the court to control its own judgments in aid of justice.
That the court had jurisdiction cannot be questioned, and that the power was properly exercised in this instance is equally plain.
Order affirmed, with costs.
Barnard and Dykman, JJ., concur.
